           Case
Lee Law Firm,     19-44394-mxm13
               PLLC                          Doc 14 Filed 11/13/19           Entered 11/13/19 10:55:49               Page 1 of 15
8701 Bedford Euless Rd 510
Hurst, TX 76053

Bar Number: 24035997
Phone: (214) 234-8080

                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF TEXAS
                                                     FORT WORTH DIVISION

IN RE:                                                       §       CASE NO: 19-44394-MXM-13
Mary-Anne Gales                    xxx-xx-6823               §       Date: 10/30/2019
1506 San Francisco Ct 319                                    §
Arlington, TX 76012                                          §       Chapter 13
                                                             §




                  Debtor(s)
                                                     DEBTOR’S (S’) CHAPTER 13 PLAN
                                                  (CONTAINING A MOTION FOR VALUATION)

                                                              DISCLOSURES

✔ This Plan does not contain any Nonstandard Provisions.
❑
❑ This Plan contains Nonstandard Provisions listed in Section III.
✔ This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.
❑
❑ This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.
This Plan does not avoid a security interest or lien.


Language in italicized type in this Plan shall be as defined in the “General Order 2017-01, Standing Order Concerning Chapter 13 Cases”
and as it may be superseded or amended ("General Order"). All provisions of the General Order shall apply to this Plan as if fully set out
herein.



Plan Payment:       $100.00                             Value of Non-exempt property per § 1325(a)(4):           $0.00
Plan Term:      60 months                               Monthly Disposable Income per § 1325(b)(2):          $0.00
Plan Base:       $6,000.00                              Monthly Disposable Income x ACP ("UCP"):          $0.00
Applicable Commitment Period:         36 months
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                                        MOTION          Entered
                                                FOR VALUATION   11/13/19 10:55:49                                    Page 2 of 15

          Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of
the amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the
Collateral described in Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on the
proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee’s pre-hearing conference
regarding Confirmation or shall be deemed waived.

                                                           SECTION I
                                       DEBTOR’S(S’) CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                       FORM REVISED 7/1/17



A. PLAN PAYMENTS:

       Debtor(s) propose(s) to pay to the Trustee the sum of:

                $100.00        per month, months      1     to    60 .

       For a total of             $6,000.00               (estimated “Base Amount”).

       First payment is due                    11/29/2019                    .

       The applicable commitment period (“ACP”) is           36          months.

       Monthly Disposable Income (“DI”) calculated by Debtor(s) per § 1325(b)(2) is:      $0.00   .

       The Unsecured Creditors’ Pool (“UCP”), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
                   $0.00                .

       Debtor’s(s’) equity in non-exempt property, as estimated by Debtor(s) per § 1325(a)(4), shall be no less than:
                     $0.00              .



B. STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:

       1.       CLERK’S FILING FEE : Total filing fees paid through the Plan, if any, are                                         and shall
be paid in full prior to disbursements to any other creditor.

       2.      STATUTORY TRUSTEE’S PERCENTAGE FEE(S) AND NOTICING FEES : Trustee’s Percentage Fee(s) and any noticing fees
shall be paid first out of each receipt as provided in General Order 2017-01 (as it may be superseded or amended) and 28 U.S.C. §
586(e)(1) and (2).

       3.      DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support
Obligation directly to the DSO claimant. Pre-petition Domestic Support Obligations per Schedule “E/F” shall be paid in the following
monthly payments:

      DSO CLAIMANTS              SCHED. AMOUNT                   %               TERM (APPROXIMATE)                  TREATMENT




C. ATTORNEY FEES:

 To              Lee Law Firm, PLLC                 , total:  $3,700.00    ;
          $395.00          Pre-petition;            $3,305.00        disbursed by the Trustee.



D.(1) PRE-PETITION MORTGAGE ARREARAGE:

              MORTGAGEE                       SCHED. ARR.            DATE ARR.            %       TERM (APPROXIMATE)          TREATMENT
                                                 AMT                 THROUGH
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D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

                                MORTGAGEE                                         # OF PAYMENTS            CURRENT               FIRST
                                                                                     PAID BY             POST-PETITION          CONDUIT
                                                                                     TRUSTEE              MORTGAGE              PAYMENT
                                                                                                           PAYMENT              DUE DATE
                                                                                                           AMOUNT              (MM-DD-YY)




D.(3) POST-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                       TOTAL AMT.          DUE DATE(S)              %      TERM (APPROXIMATE)          TREATMENT
                                                                   (MM-DD-YY)




E.(1) SECURED CREDITORS-PAID BY THE TRUSTEE:
 A.
        CREDITOR / COLLATERAL                 SCHED. AMT         VALUE              %           TERM (APPROXIMATE)           TREATMENT
                                                                                                                               Per Mo.


 B.
        CREDITOR / COLLATERAL                 SCHED. AMT         VALUE              %                                        TREATMENT
                                                                                                                               Pro-rata




To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor
objects to the treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in
satisfaction of the creditor’s claim.



E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
             CREDITOR                     COLLATERAL          SCHED. AMT                %              TERM                  TREATMENT
                                                                                                   (APPROXIMATE)               Per Mo.


B.
             CREDITOR                     COLLATERAL          SCHED. AMT                %                                    TREATMENT
                                                                                                                               Pro-rata




The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will be finally
determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and the Trustee’s
Recommendation Concerning Claims (“TRCC”) or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have
accepted the Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section 1325(a)(5)(B) and
(C) of the Bankruptcy Code.

F. SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

      CREDITOR                       COLLATERAL                       SCHED. AMT                      VALUE                  TREATMENT
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Upon confirmation, pursuant to 11 U.S.C. § 1322 (b)(8), the surrender of the Collateral described herein will provide for the payment of all
or part of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F. will be finally determined at confirmation. The allowed claim amount will be determined based on a timely
filed proof of claim and the Trustee’s Recommendation Concerning Claims (“TRCC”) or by an order on an objection to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the surrender,
the automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is secured by the Surrendered
Collateral, without further order of the Court, on the 7th day after the date the Plan is filed. However, the stay shall not be terminated if
the Trustee or affected secured lender files an objection in compliance with paragraph 8 of the General Order until such objection is
resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G. SECURED CREDITORS-PAID DIRECT BY DEBTOR:

                  CREDITOR                                               COLLATERAL                                     SCHED. AMT
Capital One Auto                                2015 Chevrolet Equinox                                            $1,357.36



H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                            CREDITOR                                     SCHED. AMT                   TERM                 TREATMENT
                                                                                                  (APPROXIMATE)




I. SPECIAL CLASS:

                            CREDITOR                                     SCHED. AMT                  TERM                  TREATMENT
                                                                                                 (APPROXIMATE)

JUSTIFICATION:




J. UNSECURED CREDITORS:

                     CREDITOR                                 SCHED. AMT                                  COMMENT
Ace Cash Express Inc                                                 $1,612.29
Allied Collection Service                                              $167.00
Caine & Weiner                                                         $139.00
Capital One Bank                                                     $2,785.85
Cash Central                                                           $286.76
Cash Factory                                                           $416.39
Comenity Bank/Lane Bryant                                                $0.00
Credit Systems International
Diversified Consultant                                                 $608.00
First Premier Bank                                                     $607.02
First Premier Bank                                                   $1,367.80
Justice of the Peace, Precinct Two                                       $0.00
MRT Serena Vista Apartments                                              $0.00
Opp Loans                                                              $713.66
PLS Cash Express/CashNet USA                                             $0.00
Speedy Cash                                                            $911.02
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                    CREDITOR                               SCHED. AMT                                COMMENT
Us Dept of Education                                            $65,100.00


TOTAL SCHEDULED UNSECURED:                   $74,714.79

The Debtor's(s') estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is   1.43 %   .

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.

K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

           § 365 PARTY                  ASSUME/REJECT              CURE AMOUNT                  TERM                 TREATMENT
                                                                                            (APPROXIMATE)
MRT Serena Vista Apartments         Assume                     $1,025.00                 Months 3 to 36          Mo. 3 - 35, $30.16
                                                                                                                 Mo. 36, $29.72
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                                                             SECTION II
                                         DEBTOR’S(S’) CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                         FORM REVISED 7/1/17



A. SUBMISSION OF DISPOSABLE INCOME:

         Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.



B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE’S STATUTORY PERCENTAGE FEE(S) AND NOTICING FEES :

        The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. § 105(a), 1326(b)(2), and
28 U.S.C. § 586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part “B” hereof.



C. ATTORNEY FEES:

         Debtor's(s') Attorney Fees totaling the amount indicated in Section I, Part C, shall be disbursed by the Trustee in the amount
shown as “Disbursed By The Trustee” pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection Disbursements
(“AAPD” ), if filed.



D.(1) PRE-PETITION MORTGAGE ARREARAGE:

          The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed pre-petition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The principal
balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced by the total
adequate protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain their liens.



D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:

         Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

         The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment and
Base Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

        Payments received by the Trustee for payment of the Debtor’s Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

         Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee’s records as the date through which the Trustee made the last Current
Post-Petition Mortgage Payment.

        Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her
Plan Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.



D.(3) POST-PETITION MORTGAGE ARREARAGE:

         The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

         Mortgage Lenders shall retain their liens.
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E.(1) SECURED CLAIMS TO BE PAID BY TRUSTEE:

          The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan. Any
amount claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H or J, per 11
U.S.C. § 506(a). Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in 11 U.S.C. § 1325(a)
(5)(B)(I) and shall receive interest at the rate indicated from the date of confirmation or, if the value shown is greater than the allowed
claim amount, from the date of the Petition, up to the amount by which the claim is over-secured. The principal balance owing upon
confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments less any interest (if
applicable) paid to the creditor by the Trustee.



E.(2) SECURED 1325 (a)(9) CLAIMS TO BE PAID BY THE TRUSTEE – NO CRAM DOWN:

          Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the Petition Date
secured by any other thing of value.

          The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described in
Section I, Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge under §
1328 and shall receive interest at the rate indicated from the date of confirmation. The principal balance owing upon confirmation of the
Plan on the allowed secured claim shall be reduced by the total of adequate protection payments paid to the creditor by the Trustee.

         To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the
claim direct per the contract or statute.

         Each secured claim shall constitute a separate class.



F. SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:

          The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral, as stated in the
Plan, by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the
Collateral, to the extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per 11 U.S.C. § 506(a).

         Each secured claim shall constitute a separate class.



G. DIRECT PAYMENTS BY DEBTOR(S):

         Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with
the terms of their agreement or any applicable statute, unless otherwise provided in Section III, “Nonstandard Provisions.”

         No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

         Each secured claim shall constitute a separate class.



H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

          Failure to object to confirmation of this Plan shall not be deemed acceptance of the “SCHED. AMT.” shown in Section I, Part H.
The claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, pro-rata, as priority claims, without
interest.
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I. CLASSIFIED UNSECURED CLAIMS:

         Classified unsecured claims shall be treated as allowed by the Court.



J. GENERAL UNSECURED CLAIMS TIMELY FILED:

         All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.



K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

        As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section 1, Part K.

         Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.



L. CLAIMS TO BE PAID:

          "TERM (APPROXIMATE)" as used in this Plan states the estimated number of months from the Petition Date required to fully
pay the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both under-
secured and fully secured claims and allocated between interest and principal as to over-secured claims. Payment pursuant to this Plan
will only be made on statutory, secured, administrative, priority and unsecured claims that are allowed or, pre-confirmation, that the
Debtor(s) has/have authorized in a filed Authorization for Adequate Protection Disbursements.



M. ADDITIONAL PLAN PROVISIONS:

         Any additional Plan provisions shall be set out in Section III, "Nonstandard Provisions."



N. POST-PETITION CLAIMS NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:

          Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the Debtor
is responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining property
insurance as required by the mortgage security agreement, paying all premiums as they become due directly to the insurer. If the Debtor
fails to make these payments, the mortgage holder may, but is not required to, pay the taxes and/or the insurance. If the mortgage
holder pays the taxes and/or insurance, the mortgage holder may file, as appropriate, a motion for reimbursement of the amount paid as
an administrative claim or a Notice of Payment Change by Mortgage Lender or a Notice of Fees, Expenses, and Charges.

O. CLAIMS NOT FILED:

         A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.



P. CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR PUNITIVE
DAMAGES:

         Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any funds
remaining after all other unsecured claims, including late filed claims, have been paid in full.
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Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:

         No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.



R. BUSINESS CASE OPERATING REPORTS:

            Upon the filing of the Trustee’s 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee’s 11 U.S.C. § 1302(c) Business Case
Report shall terminate the Trustee's duties but not the Trustee’s right to investigate or monitor the Debtor's(‘s) business affairs, assets or
liabilities.



S. NO TRUSTEE’S LIABILITY FOR DEBTOR’S POST- CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
PRE-CONFIRMATION OPERATIONS:

         The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor’s(s’) business. Any
claims against the Trustee arising from the pre-confirmation operation of the Debtor’s(s’) business must be filed with the Bankruptcy
Court within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.



T. DISPOSAL OF DEBTOR’S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR PROPERTY IN
POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND TRUSTEE PAYMENTS UPON
POST CONFIRMATION CONVERSION OR DISMISSAL:

         Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior
to discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

         Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid post-petition
liens, except those liens avoided by court order or extinguished by operation of law. In the event the Case is converted to a case under
chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with applicable law. After confirmation
of the Plan, the Trustee shall have no further authority, fiduciary duty or liability regarding the use, sale, insurance of or refinance of
property of the estate except to respond to any motion for the proposed use, sale, or refinance of such property as required by the
applicable laws and/or rules. Prior to any discharge or dismissal, the Debtor(s) must seek approval of the court to purchase, sell, or
refinance real property.

        Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan. Upon
conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.
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U. ORDER OF PAYMENT:

          Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an
order confirming the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out below, to the
extent a creditor’s claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below is a level of payment.
All disbursements which are in a specified monthly amount are referred to as “per mo.” At the time of any disbursement, if there are
insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of payment shall be paid any unpaid
balance owed on a per mo payment plus the current per mo payment owed to that same claimant, in full, before any disbursement to a
claimant with a lower level of payment. If multiple claimants are scheduled to receive per mo payments within the same level of
payment and there are insufficient funds to make those payments in full, available funds will be disbursed to the claimants within that
level on a pro-rata basis. Claimants with a higher level of payment which are designated as receiving pro-rata payments shall be paid, in
full, before any disbursements are made to any claimant with a lower level of payment.

1st – Clerk’s Filing Fee and Trustee’s Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will be paid in
full.

2nd - Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must be
designated to be paid per mo.

3rd – Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations (“DSO”) in
B.(3), which must be designated to be paid per mo.

4th - Attorney Fees in C, which must be designated to be paid pro-rata.

5th – Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th – Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th – Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.

8th – Any Creditors listed in D.(1) if designated to be paid per mo.

9th – Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be
designated to be paid pro-rata.

10th – All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.

11th – Priority Creditors Other than Domestic Support Obligations (“Priority Creditors”) in H., which must be designated to be paid
pro-rata.

12th – Special Class in I, which must be designated to be paid per mo.

13th – Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th – Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata, unless
other treatment is authorized by the Court.

15th – Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.

16th – Late filed claims by Unsecured Creditors in J, which must be designated to be paid pro-rata.

17th – Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be designated to be paid
pro-rata.



V. POST-PETITION CLAIMS:

         Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this
Plan.
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W. TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS (“TRCC”) PROCEDURE :

         See the provisions of the General Order regarding this procedure.



                                                            SECTION III
                                                      NONSTANDARD PROVISIONS



The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the Plan is
void.




I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.



                   /s/ Karla Balli
Karla Balli, Debtor's(s') Attorney

Debtor's (s') Chapter 13 Plan (Containing a Motion for Valuation ) is respectfully submitted.



Karla Balli                                                            24035997
Karla Balli, Debtor’s(s’) Counsel                                      State Bar Number

/s/ Mary-Anne Gales
Debtor                                                                 Joint Debtor
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                                    United States Bankruptcy Court
                                      Northern District of Texas
 In re Mary-Anne Gales
                                      Debtor(s)
  Case No. 19-44394-MXM-13
  Chapter. 13


                                      CERTIFICATE OF SERVICE
 I, the undersigned, hereby certify that the foregoing Debtor’s(s’) Chapter 13 Plan (Containing a Motion for
 Valuation) was served on the following entities either by Electronic Service or by First Class Mail, Postage
 Pre-paid on :

 (List each party served, specifying the name and address of each party)



 11/13/2019                                                                /s/ Karla Balli
                                                                           Karla Balli
                                                                           Bar Number: 24035997
                                                                           8701 Bedford Euless Rd 510
                                                                           Hurst, TX 76053
                                                                           Phone: (214) 234-8080
                                                                           Email: kballi@leebankruptcy.com



  Ace Cash Express Inc                     Allied Collection Service                Attorney General of Texas
   1231 Greenway Dr 600                    9301 Oakdale Ave 205                     Bankruptcy Section
   Irving, TX 75038                        Chatsworth, CA 91311                     400 South Zang, Ste 1100
                                                                                    Dallas, TX 75208



   Caine & Weiner                          Capital One Auto                          Capital One Bank
   12005 Ford Rd 300                       P.O. Box 60511                           Po Box 60599
   Dallas, TX 75234                        City of Industry, CA 91716               City of Industry, CA 91716




   Cash Central                            Cash Factory                              Comenity Bank/Lane Bryant
   6785 Bobcat Way 200                     101 Convention Center Dr 700             PO Box 659728
   Dublin, OH 43016                        Las Vegas, NV 89109                      San Antonio, TX 78265-9728




   Credit Systems International            Diversified Consultant                    First Premier Bank
   1277 Country Club Lane                  10550 Derrwood Park Blvd                 PO Box 5524
   Fort Worth, TX 76112                    Jacksonville, FL 32256                   Sioux Falls, SD 57117




   Internal Revenue Service                Internal Revenue Service                 Justice of the Peace, Precinct
   IRS - SBSE Insolvency Area 10           Insolvency                               Two
   1100 Commerce St., MC 5026 DAL          PO Box 21126                             700 East Abram Street 200
   Dallas, TX 75242                        Philadelphia, PA 19114                   Arlington, TX 76010



   Lee Law Firm, PLLC                      Linebarger Goggan Blair et               MRT Serena Vista Apartments
   8701 Bedford Euless Rd 510              al                                       1506 San Francisco Circle
   Hurst, TX 76053                         2323 Bryan 1600                          Arlington, TX 76012
                                           Dallas, TX 75201
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  Opp Loans                           PLS Cash Express/CashNet             Speedy Cash
  130 E Randolph St 3400              USA                                  PO Box 780408
  Chicago, IL 60601                   175 W Jackson Blvd 100               Wichita, KS 67278
                                      Chicago, IL 60604



  State Comptroller                   State Comptroller                    Texas Alcohol Beverage
  Revenue Accounting Div Bankruptcy   Revenue Accounting Div Bankruptcy    Commission
  PO Box 13528                        PO Box 13528                         Licenses and Permits Division
  Austin, TX 78711                    Ecleto, TX 78111                     PO Box 13127
                                                                           Austin, TX 78711-3127


  Texas Employment                    United States Attorney - North       United States Trustee
  Commission                          1100 Commerce St., Third Floor       1100 Commerce St., Room 9C60
  TEC Building - Bankruptcy           Dallas, TX 75242                     Dallas, TX 75242
  101 E. 15th Street
  Austin, TX 78778


  Us Dept of Education
  PO Box 7860
  Madison, WI 53704
           Case
Lee Law Firm,    19-44394-mxm13
               PLLC                          Doc 14 Filed 11/13/19              Entered 11/13/19 10:55:49              Page 14 of 15
8701 Bedford Euless Rd 510
Hurst, TX 76053

Bar Number: 24035997
Phone: (214) 234-8080

                                                   UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF TEXAS
                                                         FORT WORTH DIVISION
                                                                Revised 10/1/2016

IN RE: Gales, Mary-Anne                                                §       CASE NO: 19-44394-MXM-13
                                                                       §       Chapter 13
                                                                       §
                                                                       §
                                                                       §
                          Debtor(s)


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                           DATED: 11/13/2019

The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed as indicated below:

 Periodic Payment Amount                                                                                     $100.00

 Disbursements                                                                                   First (1)                       Second (2)

 Account Balance Reserve                                                                           $5.00               $5.00 carried forward

 Trustee Percentage Fee                                                                            $4.44                             $10.00

 Filing Fee                                                                                        $0.00                              $0.00

 Noticing Fee                                                                                      $0.00                              $0.00

 Subtotal Expenses/Fees                                                                            $9.44                             $10.00

 Available for Payment of Adequate Protection, Attorney Fees                                      $90.56                             $90.00
 and Current Post-Petition Mortgage Payments:



CREDITORS SECURED BY VEHICLES (CAR CREDITORS):

 Name                                 Collateral                               Scheduled       Value of        Adequate          Adequate
                                                                                 Amount       Collateral       Protection        Protection
                                                                                                              Percentage          Payment
                                                                                                                                   Amount

                                                   Total Adequate Protection Payments for Creditors Secured by Vehicles:              $0.00



CURRENT POST-PETITION MORTGAGE PAYMENTS (CONDUIT):

 Name                                 Collateral                           Start Date        Scheduled           Value of         Payment
                                                                                               Amount           Collateral         Amount

                                                       Payments for Current Post-Petition Mortgage Payments (Conduit):                $0.00



CREDITORS SECURED BY COLLATERAL OTHER THAN A VEHICLE:
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 Name                              Collateral                            Scheduled        Value of       Adequate           Adequate
                                                                           Amount        Collateral      Protection         Protection
                                                                                                        Percentage           Payment
                                                                                                                              Amount

                       Total Adequate Protection Payments for Creditors Secured by Collateral other than a vehicle:               $0.00

                                            TOTAL PRE-CONFIRMATION PAYMENTS
First Month Disbursement (after payment of Clerk's Filing Fee, any Noticing Fee, and Chapter 13 Trustee Percentage Fee and
retention of the Account Balance Reserve):
     Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                          $0.00
     Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                               $0.00
     Debtor's Attorney, per mo:                                                                                                  $90.00
     Adequate Protection to Creditors Secured by Collateral other than a Vehicle, per                                             $0.00
     mo:

Disbursements starting month 2 (after payment of Clerk's Filing Fee, any Noticing Fee, and Chapter 13 Trustee Percentage Fee
and retention of the Account Balance Reserve):
     Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                          $0.00
     Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                               $0.00
     Debtor's Attorney, per mo:                                                                                                  $90.00
     Adequate Protection to Creditors Secured by Collateral other than a Vehicle, per                                             $0.00
     mo:



Order of Payment:
Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee prior to entry of an order
confirming the Chapter 13 Plan will be paid in the order set out above. All disbursements which are in a specified monthly amount are
referred to as "per mo". At the time of any disbursement, if there are insufficient funds on hand to pay any per mo payment in full,
claimant(s) with a higher level of payment shall be paid any unpaid balance owed on the per mo payment plus the current per mo
payment owed to that same claimant, in full, before any disbursement to a claimant with a lower level of payment. Other than the
Current Post-Petition Mortgage Payments, the principal balance owing upon confirmation of the Plan on the allowed secured claim shall
be reduced by the total of the adequate protection payments, less any interest, paid to the creditor by the Trustee.


DATED:         11/13/2019
                      /s/ Karla Balli
Attorney for Debtor                                                 Trustee, Attorney for Trustee, or Trustee's Representative
